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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                 Western District
                                             __________  District of
                                                                  of __________
                                                                     Texas


  Community Financial Services Assoc. of Am. et al.            )
                             Plaintiff                         )
                                v.                             )      Case No.     1:18-cv-295
      Consumer Financial Protection Bureau et al.              )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendants Consumer Financial Protection Bureau and John Michael Mulvaney                                    .


Date:          05/31/2018                                                                /s/ Kristin Bateman
                                                                                         Attorney’s signature


                                                                              Kristin Bateman (Cal. Bar No. 270913)
                                                                                     Printed name and bar number
                                                                                       1700 G Street NW
                                                                                         Legal Division
                                                                                      Washington, DC 20552

                                                                                               Address

                                                                                     kristin.bateman@cfpb.gov
                                                                                            E-mail address

                                                                                          (202) 435-7821
                                                                                          Telephone number

                                                                                          (202) 435-7024
                                                                                             FAX number
         Case 1:18-cv-00295-LY Document 15 Filed 05/31/18 Page 2 of 2




                        CERTIFICATE OF SERVICE

       I hereby certify that on May 31, 2018, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notification of
such filing to the following:

Christian G. Vergonis
Jones Day
51 Louisiana Avenue NW
Washington , DC 20001

Michael A. Carvin
Jones Day
51 Louisiana Avenue NW
Washington , DC 20001

Laura Jane Durfee
Jones Day
2727 N. Harwood Street
Dallas , TX 75201

                                      /s/ Kristin Bateman
                                      Kristin Bateman
                                      Counsel for Defendants
